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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :      Criminal No.
                                            :
                v.                          :      Magistrate No.
                                            :
ISABELLE GARCIA,                            :      Violation:
                                            :      18 U.S.C. § 1343 (Wire Fraud)
                                            :
                Defendant.                  :      FILED UNDER SEAL

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

       I, Gary A. Henley, being duly sworn, hereby state the following under the penalty of

perjury:

I. PURPOSE

       1.       This Affidavit is submitted in support of a criminal Complaint charging

ISABELLE GARCIA with Wire Fraud in violation of 18 U.S.C. § 1343. I respectfully submit

that the Affidavit establishes probable cause to believe that ISABELLE GARCIA has violated 18

U.S.C. § 1343, and request that the Court issue an arrest warrant for ISABELLE GARCIA,

pursuant to Federal Rule of Criminal Procedure 4(a).

II. AFFIANT’S EXPERIENCE

       2.       I am a Special Agent with the United States Department of Justice (“DOJ”),

Federal Bureau of Investigation (“FBI”), and have been so employed for approximately 18 years.

During this time I have investigated violations of Federal and state laws. As an FBI Special

Agent, I am authorized to investigate violations of the laws of the United States of America. I

am a sworn law enforcement officer with authority to execute arrest and search warrants issued

under the authority of the United States of America. I am currently assigned to the Washington
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Field Office to a squad responsible for investigating Corporate Fraud, Intellectual Property

Rights, and Anti-Trust violations.

       3.       This Affidavit is being submitted for the limited purpose of establishing probable

cause for a criminal Complaint and the issuance of an arrest warrant. Thus, it does not contain

every fact known by me or the United States. Where conversations or statements are related

herein, they are related in substance and in part, except where otherwise indicated. Unless

otherwise stated, the information in this Affidavit is either personally known by me, has been

provided to me by others involved in the investigation, or is based on a review of various

documents and records. The dates listed in the Affidavit should be read as “on or about” dates.

III. SUMMARY OF PROBABLE CAUSE

       4.       The George Town Club (“GTC”) is a private dining club located in the District of

Columbia. In April 2006, ISABELLE GARCIA (“GARCIA”) began working as the controller

for GTC. In November 2013, GTC fired GARCIA for stealing GTC funds. As discussed more

fully below, there is probable cause to believe that GARCIA, while employed at GTC,

embezzled approximately $304,562.28 from GTC bank accounts by writing checks to herself

from GTC accounts and using GTC funds to pay her personal credit accounts.

IV. PROBABLE CAUSE

       5.       GARCIA was born in France and is a French citizen. She became a United States

lawful permanent resident on February 25, 2008.

       6.        As the GTC controller, GARCIA was responsible for all of GTC’s financial

matters. The GTC General Manager (“GM”) was GARCIA’s direct supervisor. GARCIA

produced year-end and monthly financial statements and generated expense breakdown reports.

She received all of the GTC bank statements and GTC bills.



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                           GTC’s Operating and Payroll Accounts

       7.       GARCIA, the GTC treasurer, and the GM had signature authority on GTC’s

operating account. Funds in the GTC operating account were only supposed to be used to pay

legitimate GTC expenses. GARCIA prepared checks from the operating account in order to pay,

for example, vendors, insurance, and GTC lines of credit. If an employee paid any club expenses

with personal funds, the employee submitted receipts to GARCIA, who then prepared and issued

a reimbursement check to the employee from the operating account. GARCIA also prepared

checks from the operating account at the request of the GM.

       8.       The GM had sole signature authority on the GTC payroll account. GARCIA had

no authority to sign GTC checks from the payroll account. The payroll account was supposed to

be used only for payroll and any performance bonuses. GARCIA had no authority to use GTC

funds from any GTC account to pay her personal expenses.

       9.       GTC employees were paid every two weeks.         GTC used Customer Payroll

Service, Inc., and ADP as third-party payment processors to prepare GTC payroll checks while

GARCIA was the GTC controller. GTC department managers sent audited employee time cards

to GARCIA.       GARCIA entered the information into a computer and transmitted it to the

payment processor. The payment processor produced a payment report by GTC department,

which listed employee names, hours worked, and social security numbers. The GTC GM

reviewed the payment report and then sent it to GARCIA. GARCIA used her online access to

the GTC operating account to transfer money from the operating account to the payroll account

in order to cover payroll. GARCIA sent the payment report back to the payment processor. The

payment processor then prepared paper payroll checks with the GM’s electronic signature and

sent the checks to GTC.



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       10.     GARCIA was the only GTC employee who controlled the checkbooks for GTC’s

payroll and operating accounts. GTC maintained accounts at Eagle Bank and Citibank while

GARCIA worked there. Citibank account number XXXX9375 was the operating account and

Citibank account number XXXX9383 was the payroll account until July 31, 2011. Beginning on

August 1, 2011, Eagle Bank account number XXXXXX6691 was the operating account and

Eagle Bank account number XXXXXX6576 was the payroll account.

                           Garcia’s Embezzlement of GTC Funds

       11.    In or around September 2013, GTC was having financial difficulties and

considering filing for bankruptcy. The GTC treasurer examined the GTC September 2013

internal financial statement, which Garcia had created.     It only listed GTC’s income and

expenses. It did not have any detailed information. On October 14, 2013, the treasurer contacted

GARCIA and asked her for GTC’s bank statements. As discussed more fully below, GARCIA

was supposedly working from home at the time because she claimed to be undergoing

chemotherapy treatments. GARCIA did not provide any bank statements, but the GTC treasurer

was able to retrieve a GTC operating account bank statement from GARCIA’s office for August

26, 2013, to September 31, 2013.

       12.    On October 17, 2013, the GTC treasurer again contacted GARCIA and asked for

GTC bank statements. GARCIA told the GTC treasurer she was too busy dealing with her

“illness” and did not want to talk about GTC business. GARCIA did email some statements

from the GTC operating account to the treasurer. The statements covered the period from July

2013 to September 2013. The treasurer reviewed the statements and discovered that checks

payable to GARCIA and to credit card companies had been written from the account. GTC did

not have any credit card accounts while GARCIA was employed there.



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       13.    In a meeting later that morning, the GTC treasurer informed the GTC executive

committee that GARCIA had written GTC checks to herself from the operating account and

possibly used GTC funds to pay six personal credit cards. After the meeting, the GTC president

wrote the following email to GARCIA:

       Please send the username/password for the credit card accounts to [GTC
       treasurer], [GTC vice president] and [GTC president]. [The GTC treasurer]
       claims that payment was made to 6 different Citi accounts in September and is
       insisting on getting the information NOW.

       14.    On October 17, 2013, GARCIA sent the following email response to the GTC

president:

       [GTC president], there are only 2 accounts not 6. They are not the Club accounts,
       they are mine. I am so sorry for the pain it’s going to cause you and [the GTC
       vice president]. In the last few months I have had so many issues because of my
       disease that I found myself trapped and against the wall. Nothing can excuse what
       I have done. I know I saved tons of money for the Club in the past but I have
       done bad in the last few months. I will do whatever you want and will prepare an
       email with all passwords for everything I have and all information relevant to
       what I need. I want to insist that this not your fault and you and [the GTC vice
       president] have always been nothing but kind to me. I have lost perspective when
       I became sick and start fighting for my life. I am very ashamed of what happened
       and will do whatever is in my power to pay the Club back even if it means selling
       my little house. I have taken pride in working for this Club and the Board over
       the year. I apologize to the Board, [the GTC general manager], [the GTC
       treasurer], [the GTC vice president], and to you. I will accept any decision you
       make. Please just let me know what to expect as I am ready for the consequences
       of my actions. I am mostly at the hospital tonight and tomorrow. Again I
       apologize for putting you and the Club in this situation.

       15.    On October 18, 2013, GTC placed GARCIA on unpaid administrative leave.

       16.    On October 21, 2013, GARCIA met with the GTC president and vice-president at

the GTC. GARCIA admitted that she had used GTC funds to pay her personal credit cards.

GARCIA also admitted to writing checks from GTC accounts to pay her personal expenses.

GARCIA stated that she started stealing money from GTC soon after she began working there.




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GARCIA estimated that she had taken between $150,000 and $200,000 from GTC. GARCIA

apologized to the president and vice-president and stated “I’m sorry I caused this pain.”

       17.     On October 24, 2013, GARCIA met again with the GTC president, vice-president

and treasurer. The meeting occurred at the GTC president’s office at Georgetown University.

GARCIA again apologized for her unauthorized use of GTC funds and claimed that she would

pay GTC back by liquidating her assets and obtaining money from her friends. GARCIA turned

over her GTC keys to GTC’s president and also provided her usernames and passwords to GTC

computers and bank accounts. On November 4, 2013, GTC fired GARCIA.

       18.     I   have   reviewed   Bank    of       America   statements   for   account   number

XXXXXXXX3159, which was GARCIA’s personal checking account. GARCIA deposited

numerous GTC checks payable to herself from both the GTC operating account and the payroll

account. These checks were in addition to her regular bi-weekly paychecks. GARCIA’s salary

at GTC was $75,000 when she first started in April 2006, and was approximately $86,000 when

she was terminated in November 2013.          During that time period, she was paid between

$1,119.82 and $2,454.78 every two weeks. In 2012, her last full year as a GTC employee, GTC

issued a Form W-2 to GARCIA for $79,507.44.

       19.     GARCIA fraudulently transferred $218,544.69 from GTC accounts to Bank of

America account number XXXXXXXX3159 by writing unauthorized GTC checks to herself and

causing unauthorized wires to be made payable to her. The checks and wires are listed below.

All of the checks, except for two, were endorsed on the front with GARCIA’s signature. Check

numbers 011023 and 011297 were endorsed with a signature in the name of a GTC general

manager. The general manager reviewed these checks. The signature on the checks is not the

general manager’s signature.



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Date of Check    GTC Account        Check Number     Amount of Check
12/14/2006       Citibank x9375     5905             $3,000.00
2/16/2007        Citibank x9375     6197             $624.37
1/23/2008        Citibank x9375     7572             $5,000.00
4/16/2008        Citibank x9375     7913             $2,200.00
6/26/2008        Citibank x9375     8126             $136.52
4/9/2009         Citibank x9375     9008             $99.99
4/13/2009        Citibank x9375     9022             $1,474.51
6/26/2009        Citibank x9375     9238             $91.86
7/1/2009         Citibank x9375     9255             $96.73
8/12/2009        Citibank x9375     9377             $146.29
9/1/2009         Citibank x9375     9406             $48.95
10/7/2009        Citibank x9375     9482             $32.62
10/29/2009       Citibank x9375     9547             $111.82
12/9/2009        Citibank x9375     9684             $280.00
2/2/2010         Citibank x9375     9890             $2,525.00
3/12/2010        Citibank x9375     10039            $624.57
4/9/2010         Citibank x9375     10115            $172.05
6/2/2010         Citibank x9375     10280            $82.39
6/3/2010         Citibank x9375     10311            $395.00
6/22/2010        Citibank x9375     10332            $36.00
7/20/2010        Citibank x9375     10414            $131.97
8/2/2010         Citibank x9375     10433            $340.19
8/10/2010        Citibank x9375     10483            $135.75
8/27/2010        Citibank x9375     10493            $309.35
9/30/2010        Citibank x9375     11023            $165.71
12/20/2010       Citibank x9375     11297            $2,500.00
1/1/2011         Citibank x9375     11334            $123.95
3/22/2011        Citibank x9375     10577            $1,726.34
6/23/2011        Citibank x9375     10830            $1,626.90
11/3/2011        Eagle Bank x6691   Wire             $2,227.92
11/4/2011        Eagle Bank x6691   11171            $2,454.78
12/5/2011        Eagle Bank x6691   11238            $1,929.48
1/11/2012        Eagle Bank x6691   11361            $421.45
2/8/2012         Eagle Bank x6691   11484            $1,358.50
2/9/2012         Eagle Bank x6691   Wire             $1,450.00
2/22/2012        Eagle Bank x6691   11499            $1,356.42
2/27/2012        Eagle Bank x6691   11500            $745.63
2/27/2012        Eagle Bank x6691   11502            $321.45
3/19/2012        Eagle Bank x6691   11572            $614.45

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Date of Check    GTC Account        Check Number     Amount of Check
5/10/2012        Eagle Bank x6691   11709            $899.00
5/31/2013        Eagle Bank x6691   12607            $741.53
8/5/2008         Citibank x9383     2232             $538.95
8/12/2008        Citibank x9383     2234             $1,138.95
9/2/2008         Citibank x9383     2235             $1,136.46
9/9/2008         Citibank x9383     2237             $1,119.82
9/15/2008        Citibank x9383     2239             $524.28
10/8/2008        Citibank x9383     2240             $1,016.38
11/6/2008        Citibank x9383     2241             $688.44
12/5/2008        Citibank x9383     2242             $1,146.25
2/5/2009         Citibank x9383     2245             $2,309.45
3/9/2009         Citibank x9383     2247             $2,340.22
4/7/2009         Citibank x9383     2248             $2,340.23
5/4/2009         Citibank x9383     2249             $2,340.63
6/10/2009        Citibank x9383     2250             $2,340.23
7/7/2009         Citibank x9383     2251             $2,148.97
7/14/2009        Citibank x9383     2252             $1,074.48
7/31/2009        Citibank x9383     2253             $1,927.69
8/31/2009        Citibank x9383     2254             $1,144.84
9/1/2009         Citibank x9383     2255             $1,927.69
9/9/2009         Citibank x9383     2257             $1,927.69
9/23/2009        Citibank x9383     2260             $811.32
10/2/2009        Citibank x9383     2261             $1,927.69
10/22/2009       Citibank x9383     2262             $1,927.69
11/18/2009       Citibank x9383     2264             $1,927.69
12/2/2009        Citibank x9383     2265             $1,927.69
2/12/2010        Citibank x9383     2266             $1,985.64
3/3/2010         Citibank x9383     2267             $1,938.95
3/11/2010        Citibank x9383     2268             $1,238.95
3/30/2010        Citibank x9383     2269             $558.95
4/7/2010         Citibank x9383     2270             $1,838.95
4/12/2020        Citibank x9383     2271             $2,238.95
5/6/2010         Citibank x9383     2272             $2,410.21
5/7/2010         Citibank x9383     2273             $2,538.95
6/18/2010        Citibank x9383     2274             $1,138.95
6/22/2010        Citibank x9383     2275             $725.12
7/2/2010         Citibank x9383     2276             $1,726.90


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Date of Check    GTC Account          Check Number   Amount of Check
7/2/2010         Citibank x9383       2277           $1,838.95
7/13/2010        Citibank x9383       2279           $1,338.95
7/15/2010        Citibank x9383       2280           $1,854.63
7/20/2010        Citibank x9383       2281           $1,938.72
8/10/2010        Citibank x9383       2282           $1,838.95
8/31/2010        Citibank x9383       2283           $1,838.95
9/24/2010        Citibank x9383       2284           $828.42
10/7/2010        Citibank x9383       2285           $1,221.95
10/19/2010       Citibank x9383       2286           $1,254.89
11/5/2010        Citibank x9383       2287           $2,337.22
11/17/2010       Citibank x9383       2288           $2,125.43
11/30/2010       Citibank x9383       2290           $2,328.54
11/30/2010       Citibank x9383       2289           $1,601.74
12/10/2010       Citibank x9383       2291           $1,747.56
12/17/2010       Citibank x9383       2328           $1,225.63
12/20/2010       Citibank x9383       2292           $1,039.27
12/31/2010       Citibank x9383       2293           $2,029.65
1/31/2011        Citibank x9383       2294           $2,985.46
3/11/2011        Citibank x9383       2302           $2,038.95
3/29/2011        Citibank x9383       2303           $2,338.95
4/11/2011        Citibank x9383       2304           $1,565.48
4/19/2011        Citibank x9383       2305           $1,738.92
5/5/2011         Citibank x9383       2307           $1,938.95
5/6/2011         Citibank x9383       2308           $2,121.12
5/17/2011        Citibank x9383       2309           $1,727.45
5/15/2011        Citibank x9383       2310           $1,484.12
5/19/2011        Citibank x9383       2311           $1,921.44
5/19/2011        Citibank x9383       2312           $2,038.95
5/24/2011        Citibank x9383       2313           $1,243.58
6/2/2011         Citibank x9383       2314           $1,954.68
6/6/2011         Citibank x9383       2315           $1,653.75
6/10/2011        Citibank x9383       2316           $941.57
6/30/2011        Citibank x9383       2317           $1,738.95
7/7/2011         Citibank x9383       2318           $2,454.78
7/13/2011        Citibank x9383       2319           $2,138.95
8/17/2011        Citibank x9383       2321           $938.95
8/26/2011        Citibank x9383       2322           $1,141.25


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      Date of Check         GTC Account         Check Number         Amount of Check
      9/9/2011              Citibank x9383      2323                 $1,138.95
      9/16/2011             Eagle Bank x6576    2324                 $1,959.65
      10/19/2011            Eagle Bank x6576    5001                 $2,454.77
      11/15/2011            Eagle Bank x6576    5002                 $2,454.78
      11/18/2011            Eagle Bank x6576    5003                 $2,454.78
      2/7/2012              Eagle Bank x6576    5004                 $2,454.85
      3/7/2012              Eagle Bank x6576    5005                 $2,454.85
      3/21/2012             Eagle Bank x6576    5006                 $2,424.72
      4/3/2012              Eagle Bank x6576    5007                 $2,424.68
      4/16/2012             Eagle Bank x6576    5009                 $2,424.66
      5/3/2012              Eagle Bank x6576    5010                 $2,424.35
      5/15/2012             Eagle Bank x6576    5011                 $2,424.61
      6/12/2012             Eagle Bank x6576    5013                 $2,424.61
      8/8/2012              Eagle Bank x6576    5016                 $1,972.57
      9/5/2012              Eagle Bank x6576    5017                 $2,424.66
      9/21/2012             Eagle Bank x6576    5018                 $2,248.93
      10/4/2012             Eagle Bank x6576    5019                 $2,248.93
      10/16/2012            Eagle Bank x6576    5020                 $2,248.92
      11/14/2012            Eagle Bank x6576    5021                 $2,248.93
      11/19/2012            Eagle Bank x6576    5022                 $2,248.93
      12/13/2012            Eagle Bank x6576    5023                 $2,248.93
      2/8/2013              Eagle Bank x6576    5024                 $2,192.37
      3/1/2013              Eagle Bank x6576    5025                 $2,192.37
      3/22/2013             Eagle Bank x6576    5026                 $2,366.33
      4/30/2013             Eagle Bank x6576    5027                 $2,366.34
      5/30/2013             Eagle Bank x6576    5028                 $2,366.83
                                                        TOTAL:       $218,544.69

      20.    GARCIA had the following credit accounts while employed at GTC:

Financial Institution/Retailer   Account Number            Account Opening Date
Bank of America                  XXXXXXXXXXXX2081          11/07
Barclays Bank                    XXXXXXXXXXXX1071          07/13
Chase Freedom                    XXXXXXXXXXXX2455          07/13
Citibank                         XXXXXXXXXXXX1952          12/11
Citibank                         XXXXXXXXXXXX7746          06/07
Citibank (American Airlines)     XXXXXXXXXXXX0489          06/07
Citibank                         XXXXXXXXXXXX5120          12/11
GE Money Bank                    XXXXXXXXXXXX1133          11/11

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   Financial Institution/Retailer   Account Number                    Account Opening Date
   PayPal Extra                     XXXXXXXXXXXX1375                  07/13
   Sears                            XXXXXXXXXXXX1724                  11/11

         21.     Garcia used $86,017.59 from GTC accounts to make the following unauthorized

  payments on the credit accounts listed in the previous paragraph:

                                                       Form of    Check       Garcia Credit
Payment Date     GTC Account          Amount           Payment    Number      Account
                                                                              GE Money Bank
5/14/2012        Eagle Bank x6691     $2,007.05        Check      11708       x1133
                                                                              Bank of America
6/7/2012         Eagle Bank x6691     $1,325.48        Check      11785       x3159
6/15/2012        Eagle Bank x6691     $2,168.20        Check      11797       Sears x1724
                                                                              Bank of America
6/19/2012        Eagle Bank x6691     $656.41          Check      11815       x3159
                                                                              Bank of America
6/20/2012        Eagle Bank x6691     $314.57          Check      11805       x3159
                                                                              Bank of America
7/2/2012         Eagle Bank x6691     $112.45          Check      11816       x3159
7/25/2012        Eagle Bank x6691     $2,281.07        Check      11861       Citicard x5120
8/13/2012        Eagle Bank x6691     $2,281.07        Check      11904       Citicard x5120
8/24/2012        Eagle Bank x6691     $1,771.53        Check      11910       Citicard x1952
9/17/2012        Eagle Bank x6691     $1,130.70        Check      11951       Citicard x1952
                                                                              Bank of America
10/1/2012        Eagle Bank x6691     $584.96          Check      11961       x3159
10/15/2012       Eagle Bank x6691     $1,657.24        Check      11994       Citicard x1952
10/19/2012       Eagle Bank x6691     $1,724.12        Check      12006       Citicard x1952
10/29/2012       Eagle Bank x6691     $2,236.00        Check      12023       Citicard x1952
11/6/2012        Eagle Bank x6691     $3,425.12        Check      12022       Citicard x0489
11/13/2012       Eagle Bank x6691     $1,756.00        Check      12067       Citicard x1952
11/20/2012       Eagle Bank x6691     $2,756.81        Check      12078       Citicard x0489
12/10/2012       Eagle Bank x6691     $3,320.94        Check      12114       Citicard x1952
12/19/2012       Eagle Bank x6691     $1,921.22        Check      12154       Citicard x1952
12/26/2012       Eagle Bank x6691     $2,126.62        Check      12194       Citicard x1952
1/29/2013        Eagle Bank x6691     $926.78          Check      12264       Citicard x7746
1/29/2013        Eagle Bank x6691     $1,136.53        Check      12266       Citicard x1952
2/11/2013        Eagle Bank x6691     $1,281.30        Check      12307       Citicard x1952
3/1/2013         Eagle Bank x6691     $1,212.00        Check      12352       Citicard x7746
3/6/2013         Eagle Bank x6691     $2,122.30        Check      12361       Citicard x1952

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3/12/2013        Eagle Bank x6691     $1,863.54        Check        12395   Citicard x1952
3/18/2013        Eagle Bank x6691     $1,927.45        Check        12429   Citicard x1952
4/11/2013        Eagle Bank x6691     $1,594.01        Check        12492   Citicard x1952
4/12/2013        Eagle Bank x6691     $1,318.66        Check        12501   Citicard x7746
4/15/2013        Eagle Bank x6691     $1,850.00        Check        12502   Citicard x1952
4/22/2013        Eagle Bank x6691     $1,536.73        Check        12524   Citicard x1952
5/15/2013        Eagle Bank x6691     $1,099.37        Check        12563   Citicard x1952
5/28/2013        Eagle Bank x6691     $2,002.08        Check        12580   Citicard x7746
6/3/2013         Eagle Bank x6691     $2,566.98        Check        12606   Citicard x1952
6/11/2013        Eagle Bank x6691     $3,002.08        Check        12647   Citicard x1952
8/15/2013        Eagle Bank x6691     $2,702.73        Wire         n/a     Citicard x7746
8/15/2013        Eagle Bank x6691     $2,385.77        Wire         n/a     Citicard x1952
8/20/2013        Eagle Bank x6691     $2,941.84        Wire         n/a     Chase x2455
8/21/2013        Eagle Bank x6691     $1,451.56        Wire         n/a     Barclay Card x1071
                                                                            PayPal E-Check
8/23/2013        Eagle Bank x6691     $1,465.31        Wire         n/a     x1375
8/30/2013        Eagle Bank x6691     $2,654.20        Wire         n/a     Citicard x7746
8/30/2013        Eagle Bank x6691     $1,567.33        Wire         n/a     Citicard x1952
9/9/2013         Eagle Bank x6691     $2,258.17        Wire         n/a     Citicard x7746
9/9/2013         Eagle Bank x6691     $1,135.30        Wire         n/a     Citicard x1952
9/13/2013        Eagle Bank x6691     $1,751.29        Wire         n/a     Citicard x1952
9/13/2013        Eagle Bank x6691     $1,337.23        Wire         n/a     Citicard x7746
9/30/2013        Eagle Bank x6691     $1,772.59        Wire         n/a     Citicard x7746
9/30/2013        Eagle Bank x6691     $1,596.90        Wire         n/a     Citicard x1952
                             Total: $86,017.59

         22.    I have reviewed GARCIA’s transactions for the personal credit accounts in the

  previous paragraph. The charges on these accounts appear to be personal in nature. They

  included charges for hotels, restaurants, domestic and overseas travel, doggy day care, dining,

  gasoline, department stores, wine and spirits, restaurant equipment purchases in Pennsylvania,

  hardware store purchases, and utility payments in Pennsylvania.

                       Garcia’s Opening of a Restaurant in Pennsylvania

         23.    In the late Spring or early Summer of 2012, GARCIA contacted an individual

  who owned commercial property in Wilkes-Barre, Pennsylvania. GARCIA told the individual

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that she intended to move to the area and open a restaurant. The individual agreed to rent the

property to GARCIA. In October 2013, GARCIA opened a restaurant called Southside Bistro.

       24.    On November 4, 2013, GARCIA emailed the property owner and notified him

that she was leaving for France because her mother had a heart attack. On December 19, 2013,

GARCIA sent an email to the individual stating that she was not coming back to the United

States and was staying in France to be with her mother.

       25.    Treasury Enforcement Communication System (“TECS”) records reflect that

GARCIA left the United States on October 31, 2013, to travel to London. There is no record

from TECS of her returning to the United States.

       26.    On January 26, 2014, Southside Bistro closed. GARCIA owed approximately

$30,000 in payroll taxes, $160,000 to vendors, $120,000 in utilities, and $19,200 in rent for

Southside Bistro.   GARCIA also defaulted on a $200,000 loan from the Small Business

Administration for Southside Bistro.

       27.    In the October 17, 2013, email discussed in paragraph number 14, GARCIA

referred to her “disease” and being “sick.” In May 2013, GARCIA had asked GTC if she could

work from home because she had breast cancer and needed chemotherapy treatments. GTC

agreed to let her work from home for half of her salary. In or about July 21, 2013, GARCIA

filed a claim for unemployment benefits with the District of Columbia Employment Services.

GARCIA indicated that she was working part-time at GTC due to lack of work. I have reviewed

records from GARCIA’s checking account and her credit card statements. I have not seen any

payments that appear to be associated with cancer treatments. I believe that GARCIA fabricated

her breast cancer diagnosis so that she could spend time away from GTC preparing to open

Southside Bistro.



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                                           CONCLUSION

       28.    Based on the foregoing facts, your Affiant respectfully submits that there is

probable cause to believe that GARCIA has committed Wire Fraud in violation of 18 U.S.C.

§ 1343. Your Affiant respectfully requests the issuance of a criminal Complaint charging Garcia

with Wire Fraud and the issuance of an arrest warrant.

        The statements above are true and accurate to the best of my knowledge and belief.



                                     ____________________________________
                                     Special Agent Gary A. Henley
                                     Federal Bureau of Investigation



       Sworn to and subscribed before me this 26th day of February, 2016.



                                            ____________________________________
                                            ALAN KAY
                                            UNITED STATES MAGISTRATE JUDGE




                                               14
